                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 NANCY E. LEWEN                                   :
                                                  : Civil Action No. 1:17-cv-148-SPB
                          Plaintiff,              :
                                                  :
               v.                                 :
                                                  : Magistrate Judge Susan Paradise
 PENNSYLVANIA SOLDIERS’ AND                       : Baxter
 SAILORS’ HOME (PSSH), BARBARA                    :
 RAYMOND, PENNSYLVANIA                            :
 DEPARTMENT OF MILITARY AND                       :
 VETERANS AFFAIRS, BRIGADIER                      :
 GENERAL ANTHONY CARRELLI,                        :
 PENNSYLVANIA STATE CIVIL SERVICE                 :
 COMMISSION, CHAIRMAN BRYAN R.                    :
 LENTZ, COMMISSSIONER ODELFA                      :
 SMITH PRESTON AND COMMISSIONER                   :
 GREGORY M. LANE, PENNSYLVANIA                    :
 DEPARTMENT OF LABOR AND                          :
 INDUSTRY, UNEMPLOYMENT                           :
 COMPENSATION BOARD OF REVIEW,
 KATHY MANDERINO, SECRETARY,
 THE PENNSYLVANIA BUREAU OF
 PROFESSIONAL AND OCCUPATIONAL
 AFFAIRS, PENNSSYLVANIA STATE
 BOARD OF NURSING, SUZANNE
 HENDRICKS, COMMITTEE MEMBER,
 LINDA A. KERNS, COMMITTEE MEMBER
 AND SHERRI LUCHS, COMMITTEE
 MEMBER

                          Defendant.

                            MOTION TO FILE DOCUMENT UNDER SEAL
        And now comes the Defendants, who file the within Motion to File Document Under
seal, and set forth as follows:

       1. At Docket number 40, Plaintiff has filed a Motion for Preliminary Injunction.

       2. Defendants intend to file a response to the Motion for Preliminary Injunction
        3. Defendants intend to offer an exhibit that addresses confidential mental health care

            implications for the Plaintiff, and requests that they be able to file the document under

            seal. The Document will be Exhibit H to Defendants supporting Brief

        4. Defendants have not discussed this matter with Plaintiff, but presumes she would

            consent.

        Wherefore Defendants request that Exhibit H to Defendants Supporting Brief be filed

        under seal.

                                                      Respectfully submitted,

                                                      Attorneys for Defendants,

                                                      /s/Michael E Kennedy
                                                      Michael E Kennedy
                                                      Deputy Attorney General
                                                      PA ID 52780
                                                      OFFICE OF ATTORNEY GENERAL
                                                      6th Floor, Manor Complex
                                                      564 Forbes Avenue
                                                      Pittsburgh, PA 15219



                                     CERTIFICATEOF SERVICE
I certify that a true and correct copy of this motion and the proposed court order were served upon the
Plaintiff on November 16 2017, by first class US mail to her record address:
3342 west 12th street, Erie PA 16505.

                                                 Attorneys for Defendants,
                                                 /s/Michael E Kennedy
                                                 Michael E Kennedy
                                                 Deputy Attorney General
                                                 PA ID 52780
